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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS



In Re: Larry Klayman

                                                         Case No.: 3:20-mc-00043-B



 RESPONDENT LARRY KLAYMAN’S NOTICE OF ORDER FROM U.S. COURT OF
                APPEALS FOR THE FIFTH CIRCUIT

       Respondent Larry Klayman (“Mr. Klayman”) hereby informs the Court of a recent order

and letter of the U.S. Court of Appeals for the Fifth Circuit (“Fifth Circuit”) staying

consideration of reciprocal discipline pending the outcome of Mr. Klayman’s challenges to the

suspension order of the District of Columbia Court of Appeals in In re Klayman, 20-BG-583

(D.C.C.A.) (the “Suspension Order”). Specifically, the Fifth Circuit wrote:

       Further to your response to this Court’s Order to Show Cause, please be advised
       that the order of suspension became final on December 7, 2022. However, the
       Court has chosen to withdraw the suspension order and hold this Court’s
       reciprocal disciplinary proceeding against you in abeyance pending final
       disposition of your Superior Court Rule 60 complaint and writ of mandamus or
       certiorari petition proceedings.

       Please advise this Court when the above-referenced proceedings are concluded.
       Failure to keep this Court informed of the status of the proceedings may result in
       the imposition of reciprocal discipline without further notice.

       Please find enclosed a copy of an order with cover letter withdrawing the order of
       suspension. Exhibit 1.

Clearly, the Fifth Circuit saw the merits of Mr. Klayman’s complaint filed in the District of

Columbia Superior Court pursuant to D.C. Superior Court Civil Rule 60 (the “Rule 60

Complaint”), which is why they issued the attached order staying consideration of reciprocal

discipline.



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       Mr. Klayman respectfully requests that this Court follow the Fifth Circuit’s decision and

also stay consideration of any reciprocal discipline until he has had an opportunity to fully

challenge the Suspension Order through the Rule 60 Complaint as well as through a petition for

writ of mandamus and/or writ of certiorari to the Supreme Court. This is in the interest of judicial

efficiency to preserve the limited resources of both Mr. Klayman and the Court, and more

importantly the interests of fundamental fairness and justice.

       Also importantly, any reciprocal discipline order by this Court would be appealable to the

Fifth Circuit and this is yet another compelling reason to allow the Rule 60 Complaint and writ

of mandamus and/or certiorari before the Supreme Court to be pursued, before reciprocal

discipline by this Court is even considered – consistent with the Fifth Circuit’s order.

DATED: January 5, 2023                                Respectfully submitted,


                                                      /s/ Larry Klayman
                                                      Larry Klayman, Esq.
                                                      7050 W. Palmetto Park                Road
                                                      Boca Raton, FL 33433
                                                      Email: leklayman@gmail.com
                                                      Tel: 561-558-5336

                                                      Pro Se




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                 EXHIBIT 1
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                        United States Court of Appeals
                                         FIFTH CIRCUIT
                                      OFFICE OF THE CLERK

    LYLE W. CAYCE                                                             TEL. 504-310-7799
       CLERK                                                                600 S. MAESTRI PLACE
                                                                           NEW ORLEANS, LA 70130


                                       December 8, 2022

Larry Klayman
7050 W. Palmetto Park Road
Boca Raton, FL 33433

Dear Mr. Klayman:

Further to your response to this Court’s Order to Show Cause, please be advised that the order of
suspension became final on December 7, 2022. However, the Court has chosen to withdraw the
suspension order and hold this Court’s reciprocal disciplinary proceeding against you in abeyance
pending final disposition of your Superior Court Rule 60 complaint and writ of mandamus or
certiorari petition proceedings.

Please advise this Court when the above-referenced proceedings are concluded. Failure to keep
this Court informed of the status of the proceedings may result in the imposition of reciprocal
discipline without further notice.

Please find enclosed a copy of an order withdrawing the order of suspension.

                                            Very truly yours,

                                            LYLE W. CAYCE, Clerk



                                            By_______________________________
                                                Melissa Shanklin, Deputy Clerk

Enclosure
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                     United States Court of Appeals                                    United States Court of Appeals
                                                                                                Fifth Circuit

                                                                                              FILED
                          for the Fifth Circuit                                       December 8, 2022
                                                                                         Lyle W. Cayce
                                                                                              Clerk
                                                ORDER


                On November 2, 2022 this Court issued an order directing Larry E. Klayman
        to show cause why his right to practice before this Court should not be suspended
        reciprocal to a September 15, 2022 order of suspension issued by the District of
        Columbia Court of Appeals. This Court’s self-executing show cause suspension
        order became effective December 7, 2022.
                At the direction of the Chief Judge, IT IS ORDERED that the order of
        suspension hereby is WITHDRAWN.


                                         LYLE W. CAYCE, Clerk
                                         United States Court of Appeals for the Fifth Circuit



                                         By_________________________________
                                                 Melissa Shanklin, Deputy Clerk


                                              FOR THE COURT - BY DIRECTION
                                              Address:
                                              Clerk of Court,
                                              U.S. Court of Appeals for the Fifth Circuit
A True Copy
Certified Dec 08, 2022                        F. Edward Hebert Building
                                              600 S. Maestri Place
Clerk, U.S. Court of Appeals, Fifth Circuit   New Orleans, LA 70130
